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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


STATE FARM FIRE AND                               CV 20-64-BLG-TJC
CASUALTY COMPANY, an Illinois
Company,
                                                  ORDER
                    Plaintiff,

vs.

RAYMOND HANSEN an individual,
et al.,

                    Defendants.

      Plaintiff moves for the admission of Elissa M. Boyd to practice before this

Court in this case with David P. Rossmiller to act as local counsel. Ms. Boyd’s

application appears to be in order.

      Accordingly, IT IS HEREBY ORDERED that Plaintiff’s motion to admit

Elissa M. Boyd pro hac vice is GRANTED on the condition that Ms. Boyd shall do

her own work. This means that Ms. Boyd must do her own writing, sign her own

pleadings, motions, and briefs, and appear and participate personally. Counsel

shall take steps to register in the Court’s electronic filing system (“CM-ECF”).

Further information is available on the Court’s website, www.mtd.uscourts.gov, or

from the Clerk’s Office. Ms. Boyd may move for the admission pro hac vice of
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one (1) associate of her firm. Such associate, if duly admitted, shall be authorized

to participate in this case on the same terms and conditions as Ms. Boyd.

      IT IS FURTHER ORDERED that this Order is subject to withdrawal unless

Ms. Boyd, within fifteen (15) days of the date of this Order, files a pleading

acknowledging her admission under the terms set forth above.

      DATED this 19th day of October, 2020.

                                       _______________________________
                                       TIMOTHY J. CAVAN
                                       United States Magistrate Judge
